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                              No. 23-12958


           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT
                       _______________

                           The State of Georgia,

                                         Plaintiff-Appellee,
                                    v.

                            Mark R. Meadows,

                                      Defendant-Appellant.
                            _______________

               On Appeal from the United States District Court
        for the Northern District of Georgia, No. 1:23-cv-03621-SCJ
                             _______________

       REPLY BRIEF FOR APPELLANT MARK R. MEADOWS
                      _______________

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                CERTIFICATE OF INTERESTED PERSONS
               AND CORPORATE DISCLOSURE STATEMENT

        Pursuant to 11th Cir. Rule 26.1-1(a)(3), Appellant certifies that the following

attorneys, law firm, and persons have an interest in the outcome of this particular

case, in addition to those listed in Appellant’s Opening Brief:

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   2.      Childress, Marcus, attorney for amici

   3.      Frosh, Brian, amicus

   4.      Graber, Mark A., amicus

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   8.      Miller, Tom, amicus

   9.      Shane, Peter M., amicus




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                                INTRODUCTION

      The Supremacy Clause immunizes federal officers from state prosecution for

acts undertaken as part of their official duties. When a State brings such a

prosecution, the Federal Officer Removal Statute provides a ready means for an

officer to invoke federal jurisdiction and have the immunity defense adjudicated in

federal court. Jurisdiction under 28 U.S.C. § 1442(a) turns simply on whether the

case (1) has some “‘connection’ or ‘association’ to the federal office” of a removing

officer; and (2) involves a “colorable federal defense.” Caver v. Cent. Alabama Elec.

Coop., 845 F.3d 1135, 1142–45 (11th Cir. 2017) (quotations omitted). In an effort

to thwart removal by a Chief of Staff to the President for actions taken in the West

Wing, the State would have this Court abandon established standards prescribing

how to apply that simple jurisdictional test.

      Like any jurisdictional inquiry, however, the test for federal-officer removal

should be readily administrable at the outset of a case. And it is. Under settled law,

a court treats these jurisdictional thresholds as imposing a “quite low” bar, Caver,

845 F.3d at 1144; “credit[s] the [removing officer’s] theory of the case for purposes

of both elements of [the] jurisdictional inquiry,” Jefferson Cnty. v. Acker, 527 U.S.

423, 432 (1999); and does not ask whether the federal defense will ultimately prevail,

see id. at 431; Caver, 845 F.3d at 1145; Magnin v. Teledyne Cont’l Motors, 91 F.3d

1424, 1427 (11th Cir. 1996), because the whole point of the Federal Officer Removal


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Statute is to provide a federal forum for adjudicating that federal defense, see

Willingham v. Morgan, 395 U.S. 402, 409 (1969); Jefferson Cnty. v. Acker, 137 F.3d

1314, 1323 (11th Cir. 1998).

      Applying those standards here should have resulted in a simple decision to

permit removal. The State’s contrary and novel view requires a district court to

undertake a much more intensive analysis at the very beginning of the case: a court

should focus on the “heart” or “gravamen” of the State’s charges to ensure the case

is not too easily removed, see Opp. 12–19; cabin the federal officer’s discretionary

authority, see Opp. 19–26; weigh any evidence against the removing officer with a

thumb on the scale to favor the State’s interest in prosecuting on home turf, see Opp.

27–32; and adjudicate the asserted federal defense on the merits, at least enough to

send it back down, see Opp. 32–38.

      That approach is plainly gerrymandered to defeat removal here. It lacks any

basis in the text of § 1442(a), relevant precedent, or the purposes underlying the

Federal Officer Removal Statute. All of those sources compel the opposite

conclusion: that the case for removal here is straightforward and overwhelming.

      The Court should reverse.




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                                    ARGUMENT

I.    THE JURISDICTIONAL INQUIRY UNDER § 1442(a) IS SIMPLE TO
      MEET AND TO APPLY

      Section 1442(a) represents a simple jurisdictional threshold meant to get

federal officers’ federal defenses promptly into federal court, not to keep them out.

See, e.g., Willingham, 395 U.S. at 409 (“[Federal officers] should have the

opportunity to present their version of the facts to a federal, not a state, court. This

is exactly what the removal statute was designed to accomplish.”); Acker, 137 F.3d

at 1323 (explaining that § 1442(a) “fulfills Congress’ intent that questions

concerning the exercise of Federal authority, the scope of Federal immunity and

Federal–State conflicts be adjudicated in Federal court”) (quotation omitted). The

State says this case is about “federal meddling in matters of state authority.” Opp. 1

(emphasis original). Under the Supremacy Clause and Federal Officer Removal

Statute, a question of alleged “federal meddling” should be resolved in federal court.

      The threshold for federal-question jurisdiction is already low under § 1331,

though for claims removed under § 1442(a), it gets even lower. In both cases, the

low jurisdictional threshold ensures ready administrability, and courts need not

resolve the merits to ascertain their jurisdiction. Bell v. Hood, 327 U.S. 678 (1946),

establishes the famously permissive standard for federal-question jurisdiction under

§ 1331; the federal claim need be only “colorable.” E.g., Arbaugh v. Y&H Corp.,

546 U.S. 500, 513 n.10 (2006). Under Bell, a plaintiff’s mere assertion of a federal

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claim is nearly always dispositive. “[A] federal court may dismiss a federal question

claim for lack of subject matter jurisdiction only if: (1) ‘the alleged claim under the

Constitution or federal statutes clearly appears to be immaterial and made solely for

the purpose of obtaining jurisdiction’; or (2) ‘such a claim is wholly insubstantial

and frivolous.’” Blue Cross & Blue Shield of Alabama v. Sanders, 138 F.3d 1347,

1352 (11th Cir. 1998) (quoting Bell, 327 U.S. at 682–83). “The federal courts have

a virtually unflagging obligation to exercise the jurisdiction given them,” Fisher v.

PNC Bank, N.A., 2 F.4th 1352, 1356 (11th Cir. 2021) (cleaned up), and the

exceptions are “exceedingly narrow,” Resnick v. KrunchCash, LLC, 34 F.4th 1028,

1034 (11th Cir. 2022).

      This same requirement from Bell of a “colorable” federal claim informs the

requirement from Mesa v. California, 489 U.S. 121, 137 (1989), of a “colorable

federal defense.” See Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286, 297 (5th

Cir. 2020) (en banc). “[A]n asserted federal defense is colorable unless it is

immaterial and made solely for the purpose of obtaining jurisdiction or wholly

insubstantial and frivolous.” Id. (quotations omitted); accord Kircher v. Putnam

Funds Tr., 547 U.S. 633, 644 n.12 (2006). The non-frivolous assertion of an

immunity defense will generally establish both jurisdictional elements. And a district

court can easily satisfy itself of its jurisdiction by applying this simple standard. See,

e.g., Georgia v. Heinze, 637 F. Supp. 3d 1316, 1322–25 (N.D. Ga. 2022) (permitting


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removal of murder charges brought by the Fulton County District Attorney against

federal task force officers).

      The district court should not have belabored the jurisdictional inquiry here,

where the officer in question is the Chief of Staff to the President and the conduct

giving rise to his indictment occurred within the West Wing during the course of his

official duties. Cf. Willingham, 395 U.S. at 409 (“[O]nce petitioners had shown that

their only contact with respondent occurred inside the penitentiary, while they were

performing their duties, . . . they had demonstrated the required ‘causal

connection.’”); see also Latiolais, 951 F.3d at 296 (noting that 2011 amendments to

§ 1442(a) expanded its reach beyond the “causal connection” standard).

      A federal court does not probe the merits to assess jurisdiction. Cf. Opp. 31–

32. This is true for jurisdictional inquiries generally, see, e.g., Lobo v. Celebrity

Cruises, Inc., 704 F.3d 882, 891 (11th Cir. 2013), and especially true for § 1442(a),

see Magnin, 91 F.3d at 1427; Caver, 845 F.3d at 1145. The whole point is to provide

a federal forum for adjudicating the merits of a federal defense, see Willingham, 395

U.S. at 409; Acker, 137 F.3d at 1323, not to reserve some subset of arguable federal

defenses for litigation in state court.1


1
  The reference in 28 U.S.C. § 1455(b)(5) to an “evidentiary hearing” makes no
difference, as it imposes no substantive or evidentiary burden. Before the 1970s,
civil and criminal cases were both governed by the procedures outlined in § 1446.
The Rules Committee then proposed new procedures for removal of criminal cases.


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      It is indisputable that Meadows could sue the District Attorney in federal court

for a declaratory judgment to establish his federal defense, see Baucom v. Martin,

677 F.2d 1346, 1349 (11th Cir. 1982) (citing Steffel v. Thompson, 415 U.S. 452

(1974)), and the district court would have to exercise federal-question jurisdiction,

see Sanders, 138 F.3d at 1352; Resnick, 34 F.4th at 1034. But that is an unnecessarily

roundabout tactic that § 1442(a) avoids by providing a ready path to federal court.

The State maintains removal under § 1442(a) should be harder to invoke than

federal-question jurisdiction under § 1331, but that transparent effort to avoid

removal is belied by settled principles that establish the opposite.

      First, § 1442(a) “is an exception to the well-pleaded complaint rule” and

allows removal “despite the nonfederal cast of the complaint.” Kircher, 547 U.S. at

644 n.12 (quotation omitted); see also Br. 20, 31–32. Without citing a single case,


See Amendments to Federal Rules of Criminal Procedure, 425 U.S. 1157, 1163–64
(1975). This proposal ultimately became the procedures now reflected in § 1455,
subject to specific tweaks Congress made on timing. Compare id., with An act to
approve with modifications certain proposed amendments to the Federal Rules of
Criminal Procedure § 3, Pub. L. 95-78, 91 Stat. 319, 321–22 (July 30, 1977). Under
the Rules Enabling Act, this new Rule could “not abridge, enlarge or modify any
substantive right,” 28 U.S.C. § 2072, and Congress for its part did not impose any
new substantive burden. To the contrary, the changes were meant “to minimize the
disruption . . . from frivolous and dilatory petitions for removal . . . but, at the same
time, provide a fair opportunity for the defendant with grounds for removal to have
his petition heard.” S. Rep. 95-354, reprinted in 1977 U.S.C.C.A.N. 527 (July 20,
1977) (emphasis added). Federal courts have dispensed with the evidentiary hearing
where it was not necessary. See, e.g., Wyoming v. Livingston, 443 F.3d 1211, 1225
(10th Cir. 2006).


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the State dismisses this principle, claiming it “relates to . . . a defendant’s articulation

of a colorable federal defense, not to how a district court should define the relevant

‘acts’ which it must analyze under the test for removal.” Opp. 20. But that is simply

wrong. A court is to “credit the [removing officer’s] theory of the case for purposes

of both elements of [the] jurisdictional inquiry,” not just the “colorable federal

defense” element. Acker, 527 U.S. at 432 (emphasis added); see also Winters v.

Diamond Shamrock Chem. Co., 901 F. Supp. 1195, 1199 (E.D. Tex. 1995) (applying

the exception to the “well-pleaded complaint” rule to the “connection” element

under § 1442(a)), aff’d, 149 F.3d 387 (5th Cir. 1998); Pack v. AC & S, Inc., 857 F.

Supp. 26, 28 (D. Md. 1994) (same).

       The State’s contrary position makes no sense. State prosecutors can readily

avoid pleading a connection between the charges they bring and an act by the

defendant under color of federal office (though the State actually did that here for

Meadows). An indictment can easily state a charge, up to and including murder, that,

standing alone, would not be part of an officer’s official duty. The removing officer

will therefore need to establish through his own assertions that the charges relate to

acts under color of his office. See, e.g., Livingston, 443 F.3d at 1215–16 (permitting

removal of charges against U.S. Fish & Wildlife Service employees for state

offenses facially unrelated to official conduct based on the defendants’ allegations

that they were conducting a federal operation at the time). The court does not conduct


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a novel and complex analysis of the “heart” or “gravamen” of the State’s case. Opp.

16–17. The court simply looks at the Notice of Removal and accompanying

pleadings and determines whether the removing officer adequately alleges a

connection to or association with an act under color of office and a colorable federal

defense. See Caver, 845 F.3d at 1142.

      Second, the § 1442(a) standard is readily satisfied because the Supreme Court

made clear in Mesa that it rests on the broadest conception of “arising under”

jurisdiction under Article III of the Constitution, not on the narrower statutory scope

of “arising under” for purposes of § 1331. See, e.g., Merrill Lynch, Pierce, Fenner

& Smith Inc. v. Manning, 578 U.S. 374, 385 (2016) (explaining the distinction). The

Mesa Court read an implicit “colorable federal defense” requirement into § 1442(a)

to shore up the statute’s “substantive Art. III foundation” and avoid “grave

constitutional problems.” Mesa, 489 U.S. at 137. Given that purpose and the lack of

any express “federal defense” requirement, the statute can and should be interpreted

to reach any case within its scope that “might call for the application of federal law.”

Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S. 480, 492 (1983) (citing Osborn v.

Bank of U.S., 22 U.S. (9 Wheat.) 738 (1824)).

      Quoting Arizona v. Manypenny, 451 U.S. 232 (1981), and subsequent cases,

the State argues that removal would contravene “strong judicial policy against

federal interference with state criminal proceedings because preventing and dealing


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with crime is much more the business of the States than it is of the Federal

Government.” Opp. 27 (quotations omitted). But Manypenny itself makes clear that

this state interest does not defeat removal under § 1442(a); the murder prosecution

there was removed. The Court emphasized that “removal under § 1442(a)(1) and its

predecessor statutes was meant to ensure a federal forum in any case where a federal

official is entitled to raise a defense arising out of his official duties,” 451 U.S. at

241; explained that “[t]he act of removal permits a trial upon the merits of the state-

law question free from local interests or prejudice” and “enables the defendant to

have the validity of his immunity defense adjudicated, in a federal forum,” id. at

241–42 (emphasis added); and held the defendant officer had properly “vindicated

the federal policies supporting removal” “by obtaining a federal forum,” id. at 243.

The question presented there presupposed that the case was properly removed to

federal court: “the sole question posed here is whether respondent’s removal of the

state prosecution to federal court for trial alters the nature of the State’s otherwise

well-established right, under state law, to seek review of the instant judgment of

acquittal.” Id. at 240. It was in that context—i.e., only after assuring the federal

officer of a federal forum—that the Court emphasized the State’s interest in pursuing

an appeal that was authorized by state law but not otherwise available in federal




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court. In short, Manypenny underscores that removal is appropriate even when the

State has a strong interest in pursuing its state-law prosecution. 2

      Given these well-established principles, the removal question here is not

close. The threshold jurisdictional questions under Bell and the even laxer § 1442(a)

cases are meant to be simple both for the removing defendant to meet and for the

district court to apply. Meadows’s assertion of a plainly non-frivolous immunity

defense sufficed to establish both elements, and the district court should have

reached that conclusion easily. Cf. Heinze, 637 F. Supp. 3d at 1325. The district court

unnecessarily complicated that simple task instead, and the State now urges this

Court to spread that novel approach across the Circuit. That would be wrong as a

matter of law and misguided as a matter of policy.


2
  The State also cites Colorado v. Symes, 286 U.S. 510 (1932), and footnote 4 in
Willingham to suggest that a criminal defendant bears a heightened burden. See Opp.
27–28. That is simply wrong. Willingham was a civil case in which the Court merely
suggested in dicta in a footnote that the level of detail required to remove a criminal
case “might be” higher. 395 U.S. at 409 n.4; cf. CSX Transp., Inc. v. Alabama Dep’t
of Revenue, 888 F.3d 1163, 1186 (11th Cir. 2018) (“The Court’s footnote musing
about what might have been if something were different is doubtless dicta.”).
Manypenny puts to bed any concern that removal is inconsistent with the State’s
interest in its state prosecution. The cited language in Symes, moreover, was
overtaken by Mesa’s “colorable federal defense” requirement, which ensures that
removed cases will always satisfy Article III, see Mesa, 489 U.S. at 137, and thus
obviates the concern in Symes and predecessor cases for requiring detailed pleading
to establish federal jurisdiction, see id. at 132–33. But even if the level of pleading
required were higher, it is still firmly established that the defendant does not need to
prove his case to remove. See Magnin, 91 F.3d at 1427; Caver, 845 F.3d at 1145.
Meadows has set forth in detail the connection between the State’s prosecution and
his official acts, sufficient to satisfy even a heightened pleading standard.

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      While the district court was supposed to credit Meadows’s assertions, see

Acker, 527 U.S. at 432, the State’s arguments reinforce that the case belongs in

federal court. That is where the federal questions the State raises must be resolved.

On the “connection” element, the State relies on the purported “limits of the Chief

of Staff’s role,” Opp. 20, and disputed interpretations of “the Elections Clause,”

Opp. 21; “the Take Care Clause,” Opp. 23; and “the Hatch Act,” Opp. 24. On the

“colorable federal defense” element, the State’s arguments similarly hinge on “the

lawful scope of [Meadows’s] authority as Chief of Staff,” Opp. 33, and the adequacy

of his asserted immunity defense, see Opp. 34–38. Those are “questions concerning

the exercise of Federal authority [and] the scope of Federal immunity” that Congress

wants to “be adjudicated in Federal court.” Acker, 137 F.3d at 1323.3

II.   THE “GRAVAMEN” APPROACH IS UNSUPPORTED BY
      PRECEDENT AND, IN ANY EVENT, WOULD NOT DEFEAT
      REMOVAL HERE.
      Section 1442(a) asks whether the prosecution is “for or relat[es] to any act

under color of [federal] office,” 28 U.S.C. § 1442(a)(1), and that determination is



3
  The politically-charged nature of this case further bolsters the basis for removal.
See Watson v. Philip Morris Cos., Inc., 551 U.S. 142, 150 (2007) (explaining
removal protects federal officers from “local prejudice” against unpopular federal
laws or officials); see also Acker, 527 U.S. at 447 (Scalia, J., concurring in part and
dissenting in part); Kentucky v. Long, 837 F.2d 727, 750 (6th Cir. 1988).
Adjudicating an immunity defense in federal court has other benefits as well, such
as capitalizing on the federal judiciary’s relatively greater experience with the
federal issues that arise in such cases.

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based on the removing officer’s allegations about his conduct and its relationship to

his official duties. The task should have been particularly straightforward here

because the Indictment alleges specific acts Meadows supposedly took in connection

with the charged offenses, and Meadows established through both pleading and

evidence—unrebutted by the State—that those acts related to his duties as Chief of

Staff.

         But the State contends, and the district court agreed, that those allegations in

the Indictment are irrelevant to determining what the prosecution is “for.” Instead,

the State argues, the Court should focus only on the “heart” or “gravamen” of its

case, claiming that Meadows’s alleged “conspiring to violate Georgia’s RICO

statute” constitutes “the relevant ‘act’ under 28 U.S.C. § 1442(a)(1)” for assessing

jurisdiction. Opp. 12–13, 16–17. That is simply sophistry aimed at defeating

removal, and precedent does not support it.

         First, Meadows explained why the “gravamen” approach is dead wrong, see

Br. 31–34, and the State has not revived it. Neither Ruppel v. CBS Corp., 701 F.3d

1176 (7th Cir. 2012), nor Castillo v. Snyders, 497 F. Supp. 3d 299 (N.D. Ill. 2020),

supports the State’s position. See Opp. 16–17. Ruppel established federal jurisdiction

over a mesothelioma claim against a naval contractor, explaining that “the gravamen

of Ruppel’s complaint occurred while CBS acted under color of federal authority.”

701 F.3d at 1181. The Seventh Circuit cited nothing in particular in referring to the


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“gravamen” of the case and certainly did not develop a “gravamen” test for denying

removal. The Castillo Court also permitted removal and did so because “the

gravamen of Tlapa’s claims against the Sheriff arise from the Sheriff’s actions to

assist federal authorities.” 497 F. Supp. 3d at 306. These fleeting references to the

“gravamen” of the case in permitting removal do not remotely support the State’s

position. A district court cannot deny removal by converting the State’s general

allegation of a criminal offense into the relevant “act” for purposes of removal.

      The State also tries to rehabilitate its reliance on Justice Scalia’s partial dissent

in Acker. See Opp. 18. Meadows previously noted that, over Justice Scalia’s dissent,

the Acker Court held that “it was sufficient for removal purposes for [the removing

judges] to allege that the licensing tax was ‘for’ broadly ‘engag[ing] in [their]

occupation’ as judges.” Br. 32 (quoting 527 U.S. at 432–33). The State responds that

this holding “does not actually dispute Justice Scalia’s articulation regarding the

‘gravamen’ of a claim” because “Acker . . . involved a single, discrete act that was

not in dispute: the non-payment of a tax.” Opp. 18. Therefore, the State argues, Acker

was “merely” about “how to characterize that act,” while this case involves a

“wholly different” question of “what exactly is the act that this prosecution is for.”

Opp. 18. That misses the point and would, at most, confirm that the issues motivating

Justice Scalia’s use of the term “gravamen” are irrelevant here. The State also fails

to respond to Congress’s broadening of the statute after Acker. Justice Scalia’s


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dissenting opinion focused on the relatively limited scope of the word “for,” but

Congress subsequently expanded § 1442(a) to add the broader phrase “or relating

to.” See Br. 32–33; see also Latiolais, 951 F.3d at 297 (holding this expansion

requires reconsideration of pre-2011 cases rejecting removal).

      Second, the State defends the district court’s novel reading of § 1442(a) under

which the alleged RICO conspiracy is the “act” Meadows must show was under

color of office. See App.739–40; Opp. 12–13. That too is clearly wrong.

      The State’s reading of § 1442(a) contradicts the plain meaning of the text and

controlling precedent. The statute provides for removal of a prosecution against a

federal officer “for or relating to any act under color of such office.” 28 U.S.C.

§ 1442(a)(1) (emphasis added). The “act” is tied to the removing officer’s official

duties, not to the “charge” or “claim” the State asserts. It makes no sense to say “the

‘act’ as defined by Section 1442(a)(1) means the charge against Meadows.”

App.739–40. Federal officials do not engage in “claims” or “charges” under color

of office; they engage in “acts” under color of office. And those acts are governed

by their duties under federal law, not by the contours of state law. That is the very

premise of federal supremacy.

      In any event, the 2011 amendments to § 1442(a) drop the curtain on this issue.

Congress replaced “for any act” with “for or relating to any act.” Latiolais, 951 F.3d

at 292 (describing the change and its effects). This change displaced the “causal


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connection” test courts had previously applied and “broadened federal officer

removal to actions, not just causally connected, but alternatively connected or

associated, with acts under color of federal office.” Id.4 Before 2011, it may have

made sense to say the defendant was being prosecuted “for” the offense charged in

the Indictment,5 though Acker makes clear that the State’s claim does not control,

see 527 U.S. at 432. But after 2011, the charge is clearly not the focus. A removing

officer need not show he is being prosecuted “for” an act under color of office, only

that the prosecution “relat[es] to” such an act. The ordinary meaning of “relating to”

“is a broad one—‘to stand in some relation; to have bearing or concern; to pertain;

refer; to bring into association with or connection with.’” Morales v. Trans World

Airlines, Inc., 504 U.S. 374, 383 (1992) (quoting BLACK’S LAW DICTIONARY 1158

(5th ed. 1979)). It pulls the textual focus even further from the State’s charges.

      Third, the State’s argument here—that Meadows is charged for conspiring to

overturn the 2020 election, and conspiring to overturn the 2020 election is not part



4
  The Fifth Circuit noted that, while this Court still sometimes refers to “the ‘causal
connection’ test,” it has also “cited the amended ‘relating to’ language and
essentially implemented a connection rationale for removal.” Id. at 292 (citing
Caver, 845 F.3d at 1144 n.8).
5
  Even then, however, it is equally natural to look beyond the indictment. A
prosecutor, for instance, might say he is charging a defendant “for” disorderly
conduct, while the defendant might say he is being charged “for” his public
criticisms of local officials. Both are perfectly natural uses of “for.” And even the
pre-2011 caselaw makes clear that a removing officer, like the hypothetical
persecuted protestor, is not stuck with the State’s characterization of the case.

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of a Chief of Staff’s duties—is the same basic argument that States have raised and

federal courts have rejected for more than a century. The Fulton County District

Attorney made essentially the same argument in Heinze. See Mot. to Remand, ECF

No. 8, at 1–2, Georgia v. Heinze, No. 1:21-cv-04457-VMC (N.D. Ga. Nov. 29, 2021)

(arguing that removal was improper because “Defendant has been indicted on state

murder charges for killing a Georgia civilian” which was not within the officer’s

official duties). But the district court there correctly recognized “that the merits of

the criminal charges . . . is irrelevant to whether the Defendants acted under the color

of federal authority for removal purposes.” 637 F. Supp. 3d at 1324.

      In removal and immunity cases, the State always argues that the alleged

offense (murder, assault, bribery, tax-evasion, whatever) is outside the scope of the

defendant’s official duties. Courts have been rejecting that argument for as long as

there have been federal-officer removal and a doctrine of Supremacy Clause

immunity. The cases have involved:

      some of the most dramatic clashes between states and the federal
      government in U.S. history, such as Mississippi’s prosecution of a
      federal marshal for breach of the peace for using tear gas to control riots
      erupting over the admission of the first African American student to its
      state university; California’s prosecution of a federal marshal for killing
      a former justice of the state supreme court who he thought was about to
      assassinate Supreme Court Justice Stephen Field; and, more recently,
      Idaho’s prosecution of a federal agent for killing an unarmed woman
      (and a pet dog) in connection with the notorious raid on a cabin at Ruby
      Ridge.




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Livingston, 443 F.3d at 1213 (citing In re McShane, 235 F. Supp. 262 (N.D. Miss.

1964); In re Neagle, 135 U.S. 1 (1890); Idaho v. Horiuchi, 253 F.3d 359 (9th Cir.

2001), vacated as moot, 266 F.3d 979 (9th Cir. 2001)). But throughout all of these

cases, the courts have not simply accepted the prosecutors’ charges at face value. To

the contrary, under § 1442(a), “the State’s allegations do not control the causal-

connection analysis.” Texas v. Kleinert, 855 F.3d 305, 312 (5th Cir. 2017) (citing

Acker, 527 U.S. at 432).

      Finally, even if the “gravamen” of the case were the right focus, Meadows

would still be entitled to removal. By the State’s own admission, the gravamen of its

prosecution is Meadows’s alleged participation in a conspiracy to change the

outcome of the 2020 election. See Opp. 12–13. What did Meadows allegedly do in

connection with that conspiracy? He allegedly committed the eight acts the State

specifically enumerated in the Indictment. Meadows has plausibly asserted—which

is all he needs to do at this jurisdictional stage—that those acts were all done in

connection with his official duties. See Br. 6–11, 24–26. And the State cannot defeat

removal simply by casting those official acts as “political.” See Br. 34–45; pp.19–

23 infra. The district court therefore erred in remanding the case, even under its

misguided “gravamen” approach.




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III.   THE STATE’S ARGUMENTS ON THE MERITS OF MEADOWS’S
       IMMUNITY DEFENSE ARE BOTH IRRELEVANT AND WRONG.

       The merits of Meadows’s immunity defense are irrelevant to the current

question of the jurisdictional inquiry under § 1442(a). See Br. 24, 35, 44–45; Part I

supra. All that matters is whether the defense is “colorable.” That inquiry should

begin and end with acknowledging that a state prosecutor has charged the President’s

Chief of Staff for arranging and attending meetings in the West Wing. That federal

immunity defense is at least “colorable.” But Meadows’s defense is far more than

“colorable.” It is compelling. The State’s arguments against immunity are simply

wrong.

       “Complete Defense.” The State’s claim that a federal defense must be both

“colorable” and “complete,” Opp. 37–38, by which the State means a defense that

would entitle the defendant to a full acquittal. That argument would present no

impediment to removal anyway, but it is also disingenuous. The State cites several

cases supposedly supporting this “complete defense” requirement. Opp. 37 & n.9.

To be sure, the phrase “complete defense” appears in those cases. But they stand for

the exact opposite of what the State claims in its brief.

       In every case the State cites, the court denied remand because the defendant

asserted a colorable federal defense which the court declined to scrutinize on the




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merits.6 None of those cases suggests, as the State does, that a district court may

force a federal officer to litigate his immunity defense in state court based on the

court’s threshold assessment that the defense, while otherwise colorable, is not

“complete.” The State’s lead case, Hagen v. Benjamin Foster Co., 739 F. Supp. 2d

770 (E.D. Pa. 2010), says just the opposite, holding that, once a federal defense is

plausibly asserted, the court engages in no detailed probing of the merits. Id. at 782.

“For policy reasons, Congress has erected a road to federal court for litigants who

can invoke a federal defense. It is not the Court’s role to impose judicially created

tolls on those who seek to travel it.” Id. at 783 (emphasis added).

      Political Activity. It is patently obvious that being Chief of Staff to the

President of the United States involves engagement on “political” matters, including

matters related to elections. The State’s contrary argument and the district court’s

contrary ruling—that “political activity” lies categorically beyond the office of the



6
 See Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770, 783 n.13 (E.D. Pa. 2010);
Papp v. Fore-Kast Sales Co., 842 F.3d 805, 815 (3d Cir. 2016); Morgan v. Bill Vann
Co., 2011 WL 6056083, at *5 (S.D. Ala. Dec. 6, 2011); Davis v. Central Ala. Elec.
Coop., 2015 WL 4742496, at *4 (S.D. Ala. Aug. 11, 2015); Williams v. Aetna Life
Ins. Co., 2013 WL 593505, at *6 (S.D. Ala. Jan. 30, 2013); Gordon v. Air & Liquid
Sys., Corp., 990 F. Supp. 2d 311, 316–18 (E.D.N.Y. 2014); Gates v. A.O. Smith
Water Prods. Co., 2014 WL 104965, at *4–5 (N.D.N.Y. Jan. 9, 2014); Crews v. Air
& Liquid Sys. Corp., 2014 WL 636362, at *3 (N.D.N.Y. Feb. 18, 2014); Walkup v.
Air & Liquid Sys. Corp., 2013 WL 5448623, at *4–5 (D. Del. Sept. 26, 2013); Joyner
v. A.C. & R Insulation Co., 2013 WL 877125, at *6–7 (D. Md. Mar. 7, 2013);
Thompson v. Crane Co., 2012 WL 1344453, at *20 (D. Haw. Apr. 17, 2012); Kraus
v. Alcatel-Lucent, 2018 WL 3585088, at *2 (E.D. Pa. July 25, 2018).

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Chief of Staff—is not just an error of law. It also ignores the fundamental federal

interest in having a Chief of Staff assist the President even when politics are at play.

      First, the State completely misconstrues the Elections Clause. See Opp. 21–

23. When it comes to federal elections, the States exercise federal power, delegated

by the Federal Constitution and subject to federal supervision, not their own residual

sovereignty. The “dominant purpose of the Elections Clause . . . was to empower

Congress to override state election rules,” including “to act as a safeguard against

manipulation of electoral rules by politicians and factions in the States to entrench

themselves or place their interests over those of the electorate.” Arizona State

Legislature v. Arizona Indep. Redistricting Comm’n, 576 U.S. 787, 814–15 (2015)

(citing THE FEDERALIST No. 59, pp. 362–63 (C. Rossiter ed. 1961) (A. Hamilton)).

      Second, the State dismisses the President’s constitutional role in

recommending and approving legislation, as well as his “Take Care” duties, see Opp.

23, but it is wrong again. The State concedes that the President may have a

“legitimate interest” in the administration of Presidential elections but disputes “that

a ‘legitimate interest’ confers lawful authority on the President under the Take Clare

Clause.” Opp. 23 (citing Thompson v. Trump, 590 F. Supp. 3d 46, 77 (D.D.C. 2022)).

Thompson (currently pending before the D.C. Circuit) is about the merits of

immunity, not removal, and confirms “[t]he President can enforce election laws

through litigation initiated by the Department of Justice or the Federal Election


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Commission, agencies over which he has appointment authority.” 590 F. Supp. 3d

at 78. But Thompson reaches the mistaken conclusion that this interest is relevant

only to cases that “involve litigation to enforce federal election laws.” Id. Because

the President and the Department of Justice he supervises have authority to initiate

litigation, they necessarily have authority to consider litigation, and the Chief of

Staff has a clear role in gathering information to inform the President’s decision-

making. See Br. 24–26, 28, 38–39.

      Third, the State continues to press its misguided claim, Opp. 24–26, that the

Hatch Act prohibits the Chief of Staff from exercising his duties if they relate to

“political” matters. See generally Br. 43–45. The State cannot defeat immunity—

and certainly not jurisdiction—with a novel interpretation of the Hatch Act that the

Federal Government has never endorsed.

      The State identifies no judicial decision, nor any enforcement matter from the

Office of Special Counsel, holding that the type of post-election conduct Meadows

is alleged to have engaged in violates the Hatch Act. (The report the State relied on

below involved a wholly unrelated issue from the pre-election period.) Meadows is

not aware of any authority suggesting that advising the President on post-election

matters, coordinating meetings for the President, or learning about allegations of

election fraud would violate the Hatch Act, even if the reelection campaign was the

topic du jour. The best the State can do is quote broad language of the Hatch Act


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and assert—without citing any authority—that it clearly applies to Meadows’s

conduct. Indeed, in its entire discussion of the Hatch Act, see Opp. 24–26, the State

does not cite a single case or enforcement matter.7

      Personal Interest or Malice. The State argues that Meadows’s official

authority is also “negated by the evidence of his ‘personal interest, malice, actual

criminal intent’ or any motivation ‘for any other reason than to do his duty as he saw

it.’” Opp. 40 (quoting Baucom, 677 F.2d at 1350). Yet that is not what Baucom holds.

Those quotes come from laudatory descriptions of Baucom’s conduct, but this Court

never suggested it was establishing a standalone test to deny immunity (much less

to deny removal, which was not at issue in Baucom). And even if there were a

standalone “personal interest” test, it could not possibly apply to an official’s desire

to see the incumbent President reelected. Any contrary rule would lead to absurd

results. Indeed, the State’s primary witness below acknowledges that he “voted for

President Trump.” BRAD RAFFENSPERGER, INTEGRITY COUNTS 15 (2021). The State




7
  The State also distorts an email Meadows sent to campaign officials. See Opp. 6,
31 n.5. Meadows perfunctorily noted “we just need to have someone coordinating
the electors for the states.” App.676. This was an email routing to campaign officials
a campaign matter the President was concerned with. This exchange, in which
Meadows made sure that the campaign handled the electors issue, should satisfy
even the most stringent “no politics in the West Wing” theory. No fair reading of
that email, the State’s only proffered evidence, supports its allegation that Meadows
“assisted with coordinating fake electors.” Opp. 6; see also App.511:25–512:3.

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must believe his “personal interest” did not prevent him from conducting his official

duties as the Georgia Secretary of State.

      Necessary or Proper. The State argues that it was not “‘objectively

reasonable’ [for Meadows] to believe that his duties . . . included acting on behalf of

the Trump campaign, pressuring state officials, or pursuing unlawful strategies

designed to ensure co-defendant Trump’s reelection.” Opp. 41 (citing Kleinert, 855

F.3d at 314). Of course, that argument assumes the State’s slanted characterization

of Meadows’s conduct. As applied to the facts, it was surely reasonable for Meadows

to believe he was acting within the scope of his duties when he set up and staffed

Oval Office meetings or tracked down contact information at the President’s request.

For the Chief of Staff, assisting the President is the job. In creating the office that

empowered him to do that job, Congress left wide room for discretion. Meadows’s

belief that he was acting in an official capacity was objectively reasonable by any

fair measure.

                                  CONCLUSION

      The Court should reverse the decision below and remand with instructions for

the district court to permit removal and so notify the state court.




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Respectfully submitted,

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      This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B) and Eleventh Circuit Rule 28-1, because it contains

6,118 words, excluding the parts of the brief exempted by Fed. R. App. P. 32(f) and

11th Cir. R. 32-4. 2.

      This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

and the type-style requirements of Fed. R. App. P. 32(a)(6), because it has been

prepared in a proportionally spaced typeface using Microsoft Word in 14-point

Times New Roman type.

      Respectfully submitted this 28th day of September, 2023.

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 28, 2023, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of Appeals for the

Eleventh Circuit by using the CM/ECF system. I certify that all participants in this

case are registered CM/ECF users and that service will be accomplished by the

CM/ECF system.

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